Case 2:18-cv-14091-KM-JBC Document 6-6 Filed 11/19/18 Page 1 of 2 PageID: 138




          EXHIBIT 3
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            Case 2:18-cv-14091-KM-JBC Document 6-6 Filed 11/19/18 Page 2 of 2 PageID: 139


                                          DECLARATION OF ANDREW LOGIE

                    I, Andrew Logie, pursuant to 28 U.S.C. § 1746, declare as follows:

                    1.       I submit this Declaration in support of my motion for Lead Plaintiff and Lead

            Counsel. I received my Bachelors of Science in Petroleum Engineering at Montana Tech,

            located in Butte, Montana, and I currently am employed as a petroleum engineer. I have been

            investing in the stock market for at least 15 years.

                    2.       I learned of this case after reading about it on the internet and viewing various

            notices issued by a number of law firms. After reviewing such notices and law firm websites and

            consulting with counsel over several days about the case and my transactions in Cocrystal

            Pharma Inc., I ultimately decided to move forward as lead plaintiff in this action given my

            substantial financial interest and the merits of the action. I understood that lead plaintiff status

            was not required for me in order to secure a recovery.

                    3.       Prior to agreeing to be a lead plaintiff, I was aware of the role and the obligations

            of a lead plaintiff including overseeing the litigation and attorneys. The losses I suffered are

            material, and if appointed lead plaintiff, I am committed to prosecuting this action to maximize

            the recovery for all Cocrystal investors.

                    4.       I believe the Rosen firm is qualified to serve as Lead Counsel based on my

            research of the firm, its experience, and communications with me.

                    I declare under penalty of perjury under the laws of United States of America that the

            foregoing is true and correct to the best of my knowledge.



            Executed on _____________                        ________________________________

                                                             Andrew Logie
